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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
            v.                             ) No. 17-CR-10092-NMG
                                           )
GARY P. DECICCO,                           )
                                           )
                  Defendant.               )
__________________________________________)

      ASSENTED-TO MOTION OF DEFENDANT GARY P. DECICCO TO
UNSEAL AND RELEASE UNREDACTED TRANSCRIPT TO COUNSEL OF RECORD

       Defendant Gary DeCicco respectfully submits this motion to unseal and to allow the

release of the unredacted transcript of the initial status conference held on June 8, 2017 to

counsel of record only. The government assents to this motion. As grounds for this motion, Mr.

DeCicco states:

       1.      An initial status conference in this case was held on June 8, 2017 before

Magistrate Judge Hennessy (ECF No. 57).

       2.      Counsel for Mr. DeCicco recently ordered and obtained the transcript of the June

8, 2017 status conference from the court reporter, but was advised that portions of the transcript

were redacted because the proceeding was placed under seal (ECF No. 144).

       3.      Counsel for Mr. DeCicco seek to review the full, unredacted transcripts of the

proceedings in this case for the purposes of preparing Mr. DeCicco’s defense and trial

preparation.

       4.      Limited release of the unredacted transcript to counsel of record only will allow

confidential and/or sensitive information reflected in the transcript to remain confidential, while

allowing counsel to effectively prepare for trial.
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       5.      Counsel for Mr. DeCicco acknowledge that all disclosures continue to be subject

to the protective order entered in this case (ECF No. 66).

       6.      The United States, through AUSA Kristina Barclay, assents to this motion.

                                          CONCLUSION

       For the reasons stated above, Mr. DeCicco respectfully requests that the Court unseal and

allow the release of the transcript of the June 8, 2017 initial status conference to counsel of

record only.

                                                             Respectfully submitted,

                                                             GARY P. DECICCO

                                                             By his attorneys,

                                                             /s/ Caroline K. Simons
                                                             Thomas C. Frongillo (BBO# 180690)
                                                             Caroline K. Simons (BBO# 680827)
                                                             FISH & RICHARDSON P.C.
                                                             One Marina Park Drive
                                                             Boston, Massachusetts 02210
                                                             frongillo@fr.com
                                                             simons@fr.com
                                                             TEL: (617) 542-5070
                                                             FAX: (617) 542-8906

                                                             James J. Cipoletta (BBO# 084260)
                                                             Law Offices of James J. Cipoletta
                                                             Citizens Bank Building
                                                             385 Broadway Suite 307
                                                             Revere, Massachusetts 02151
                                                             jim@cipoletta.com
                                                             Tel: (781) 289-7777
 Dated: January 19, 2018                                     Fax: (781) 289-9468




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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        I hereby certify that pursuant to L.R. 7.1(a)(2) that I have conferred with the government
prior to the filing of this motion and the government, through AUSA Kristina Barclay, assents to
the motion for the relief requested.

                                                     /s/ Caroline K. Simons
Dated: January 19, 2018                              Caroline K. Simons


                                CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document was filed on January 19, 2018
through the CM/ECF system and will be served electronically to registered CM/ECF participants
as identified on the Notice of Electronic Filing.

                                                     /s/ Caroline K. Simons
                                                     Caroline K. Simons




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